
FreeMAN, J.,
delivered the opinion of the Court.
The judgment in this case must be affirmed. The suit is on three promissory notes, of which profert is made in the declaration. The pleas are: First, payment, to whole declaration; second, a plea as to one of the notes of $300, that it was given for Confederate money.
It is insisted that the notes are not in the record, and and that there is no evidence to support the verdict; and *217the case of McKeel v. Bass, 5 Cold., 151, is referred to. That was a very different case from this: was a suit before a Justice of the Peace, with no written pleadings, and was properly decided. In this case, however,, the defendant, by his- pleas, has admitted the truth of the declaration, as to making the notes, by his plea of payment, and also by the plea to the $300 note; in other words, has admitted the liability as charged, unless he shows that he has paid the debt.
Judgment affirmed. The Clerk of the Circuit Court will not be allowed any costs for making out the transcript in this case, on account of irregular arrangement and general confusion.
